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 Case1:20-cv-03938-VSB
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 Case1:20-cv-03938-VSB
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 Case1:20-cv-03938-VSB
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 Case1:20-cv-03938-VSB
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 Case1:20-cv-03938-VSB
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 Case1:20-cv-03938-VSB
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 Case1:20-cv-03938-VSB
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 Case1:20-cv-03938-VSB
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 Case1:20-cv-03938-VSB
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